Case 4:19-cr-00811 Document1 Filed on 10/07/19 in TXSD Page 1 of 3

. AOQYI (Rev. 11/11) Criminal Complaint
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sumone" UNITED STATES DISTRICT Court
OCT 0 7 2019 . a ; for the

Southern District of Texas
David J. Bradley, Cierk —

 

 

 

 

United States of America +)
vy. ) Co | ,
DANIEL POLANCO )  CaseNo. M-14- 2414 —™
(DOB: 1981) / ae
— ? SEALED
Defendant(s). - a, , a ' LED
CRIMINAL COMPLAINT.
_ I, the complainant in this case, state that the following is true to ‘the best of my knowledge and belief.
On or about the date(s) of October 3, 301 Q. .__-in the county of _.Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section 7 . ' Offense Description
18, U.S-C., Section 115(a)(1)(B) _ threatened to assault HSI Special Agent Isidro Martinez, a federal law

enforcement officer, with the intent to retaliate against him on. account of the -~
_ performance of his official dutiés

This criminal complaint is based on these facts:

' See attached affidavit.

a Continued on the attached sheet. |

| eK
apparel) l2y AY SS } 7 ie t's signature
—<®e mt Ae! Be Antonio Péfez IV HSI Special Agent_

 

Printed name and title

Sworn to before me and signed in my presence.

 

 

Date: 10/07/2019 ~ 1:5 br

“—Thdge ’s signature

City and state: McAllen, Texas ~ . Juan F. Alanis, U.S. Magistrate Judge

s Printed name and title
 

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AFFIDAVIT

On May 20, 2016, federal agents arrested Daniel Polanco (“Defendant”) following the return of
an Indictment charging him with conspiracy to possess with intent to distribute a controlled
substance, possession with intent to distribute a controlled substance and making a false
statement to a government agent.

The Defendant has been on pretrial release since May 26, 2016. Conditions of the Defendant’s
bond, amongst others, are that the defendant violate no local, state or federal laws and have no
contact with potential witnesses.

After a two-week trial before U.S. District Judge Keith P. Ellison, on July 22, 2019, a jury found
the Defendant guilty of conspiracy to possess with intent to distribute a controlled substance,
possession with intent 'to distribute a controlled substance and making a false statement to a
government agent. After the jury found him guilty, Judge Ellison allowed the Defendant to
remain on pre-trial release.

During the two-week trial, Homeland Security Investigations Special Agents (SA) A. Perez and
I. Martinez assisted the prosecution team with among other things, witness preparation, bringing
evidence into the courtroom and escorting the government’s witnesses into the courtroom.

On August 1, 2019, the Defendant filed a motion for judgment of acquittal and motion for new
trial. Under the statutes of conviction, the Defendant is facing a minimum term of imprisonment
of 10 years and up to life for the drug offenses and a maximum term of imprisonment of 5 years |
for his conviction for making a false statement.

On September 18, 2019, the United States Probation Office disclosed the pre-sentence
investigation report (“PSR”) to the Government and Defendant’s counsel. The Defendant’s
Guideline range is 188 months (15.6 years) to 235 months (19.5 years) imprisonment. The Court
set the Defendant’s sentencing hearing for December 11, 2019. .

On October 3, 2019, the Defendant, his attorneys and the Government were in court for the
hearing related to the Defendant’s motion for judgment of acquittal and motion for new trial
before U.S. District Judge Keith P. Ellison. SA A. Perez and SA I. Martinez attended the
hearing. After hearing arguments of counsel, Judge Ellison denied the Defendant’s motion for
judgment of acquittal and motion for new trial and noted that the Defendant was facing a very
harsh sentence of imprisonment.

Immediately after Judge Ellison concluded the hearing, the Defendant walked towards SA
Martinez who was sitting in the last row of the courtroom closest to the exit. When the
Defendant was feet away from SA I. Martinez, he stopped, pointed at SA I. Martinez and said:
“This is gonna come back to you motherfuckers. You'll see.” The Defendant’s tone was angry
and menacing. The Defendant then opened the exit door and walked out of the courtroom.
 

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SA I. Martinez felt alarmed, concerned, and threatened by the Defendant’s statement and
physical gesture. Based on the defendant’s statement, manner of delivery, and accompanying
gesture, SA I. Martinez believed that the defendant was threatening him with bodily harm. SA I.
Martinez immediately reported the threat and gesture to Assistant United States Attorneys Anibal

Alaniz and Casey MacDonald, Agent Perez and Paralegal Eva Aldrete who were at the front in
the courtroom.

Based on the facts and circumstances outlined in this affidavit, I believe there is probable cause
to believe Daniel POLANCO threatened to assault SA I. Martinez, a federal law enforcement

officer with the intent to retaliate against him on account of his performance of his official duties
in violation of Title 18 United States Code Section 115(a)(1)(B). .
